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 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, CA 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     Luis Armando de la Herran Meza
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 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,               )
                                             ) No. CR S-05-189 LKK
12                  Plaintiff,               )
                                             )
13        v.                                 )
                                             )
14   LUIS ARMANDO DE LA HERRAN MEZA, et al., ) PROPOSED ORDER
                                             )
15                  Defendant.               )
     ________________________________________)
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               The above captioned matter came on for status conference on
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     July 12, 2005 at 9:30 a.m.          The government     was represented by
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     Assistant United States Attorney Mary Grad.             Defendant Meza was
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     represented by Federal Defender Quin Denvir.       Defendant Lopez-Sanchez
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     was represented by Lorie Teichert. Defendant Felix was represented by
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     Robert Sherman Wynne.    The parties agreed that the matter should be
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     continued for further status conference on August 9, 2005 at 9:30 a.m.
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     and the Court so ordered.    Defendant Meza has requested a substantial
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     amount of additional discovery from the government, and the government
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     is in the process of responding to that request.         The parties agreed
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     that time should be excluded through August 9, 2005 under Local Code
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     T-4 and the Court so ordered.
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     DATED: July 15, 2005             /s/Lawrence K. Karlton
                                      LAWRENCE K. KARLTON
                                      Senior United States District Judge
